Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 18-cv-61219-BLOOM/Valle

 EMPIRE TODAY, LLC,

           Plaintiff,

 v.

 HAROLD MONBLATT, JEFFREY PELLAR
 and U.R. FLOORED TODAY,

       Defendant.
 ______________________________________/

                    ORDER ON MOTION FOR DEFAULT FINAL JUDGMENT

           THIS CAUSE is before the Court upon the Motion for Default Final Judgment filed by

 Plaintiff Empire Today, LLC (“Plaintiff”), ECF No. [40] (the “Motion”). A Clerk’s default was

 entered against Defendants Harold Monblatt and U.R. Floored Today (“Defendants”) on July 23,

 2018, as Defendants failed to appear, answer, or otherwise plead to the Complaint, ECF No. [1],

 despite having been served. ECF Nos. [8], [9]. The Court has carefully considered the Motion,

 the record in this case, the applicable law, and is otherwise fully advised in the premises. For the

 reasons that follow, the Motion is granted in part.

      I.       BACKGROUND

           Plaintiff initiated this action on May 31, 2018 asserting claims for (i) trademark

 infringement in violation of 15 U.S.C. §§ 1114; and (ii) unfair competition/false designation of

 origin in violation of 15 U.S.C. § 1125(a). See ECF No. [1] (“Complaint” or “Compl.”). As of
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 2 of 9
                                                                    Case No. 18-cv-61219-BLOOM/Valle


 the date of this Order, Defendants have not responded to the Complaint or otherwise appeared in

 this action. 1

     II.      LEGAL STANDARD

           Pursuant to Federal Rule of Civil Procedure 55(b), the Court is authorized to enter a final

 judgment of default against a party who has failed to plead in response to a complaint. The

 Eleventh Circuit maintains a “strong policy of determining cases on their merits and we therefore

 view defaults with disfavor.” In re Worldwide Web Sys., Inc., 328 F.3d 1291, 1295 (11th Cir.

 2003). Nonetheless, default judgment is entirely appropriate and within the district court’s sound

 discretion to render where the defendant has failed to defend or otherwise engage in the

 proceedings. See, e.g., Tara Prods., Inc. v. Hollywood Gadgets, Inc., 449 F. App’x 908, 910 (11th

 Cir. 2011); Dawkins v. Glover, 308 F. App’x 394, 395 (11th Cir. 2009); In re Knight, 833 F.2d

 1515, 1516 (11th Cir. 1987); Wahl v. McIver, 773 F.2d 1169, 1174 (11th Cir. 1985); Pepsico, Inc.

 v. Distribuidora La Matagalpa, Inc., 510 F. Supp. 2d 1110, 1113 (S.D. Fla. 2007); see also Owens

 v. Benton, 190 F. App’x 762 (11th Cir. 2006) (default judgment within district court’s discretion).

           However, a defendant’s “failure to appear and the Clerk’s subsequent entry of default

 against him do[es] not automatically entitle Plaintiff to a default judgment.” Capitol Records v.

 Carmichael, 508 F. Supp. 2d 1079, 1083 (S.D. Ala. 2007). Indeed, a default is not “an absolute

 confession by the defendant of his liability and of the plaintiff’s right to recover,” Pitts ex rel. Pitts

 v. Seneca Sports, Inc., 321 F. Supp. 2d 1353, 1357 (S.D. Ga. 2004), but instead acts as an admission

 by the defaulted defendant as to the well-pleaded allegations of fact in the complaint. See Eagle

 Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1307 (11th Cir. 2009) (“A

 defendant, by his default, admits the plaintiff’s well-pleaded allegations of fact, is concluded on


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  Plaintiff settled its claims with the third Defendant, Jeffrey Pellar and notified the Court of the settlement
 on March 18, 2019. See ECF No. [37].


                                                       2
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 3 of 9
                                                                Case No. 18-cv-61219-BLOOM/Valle


 those facts by the judgment, and is barred from contesting on appeal the facts thus established.”)

 (citations omitted); Descent v. Kolitsidas, 396 F. Supp. 2d 1315, 1316 (M.D. Fla. 2005) (“the

 defendants’ default notwithstanding, the plaintiff is entitled to a default judgment only if the

 complaint states a claim for relief”); GMAC Commercial Mortg. Corp. v. Maitland Hotel Assocs.,

 Ltd., 218 F. Supp. 2d 1355, 1359 (M.D. Fla. 2002) (default judgment is appropriate only if court

 finds sufficient basis in pleadings for judgment to be entered, and that complaint states a claim).

 Stated differently, “a default judgment cannot stand on a complaint that fails to state a claim.”

 Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1370 n.41 (11th Cir. 1997). Therefore, before

 granting default judgment, “the district court must ensure that the well-pleaded allegations of the

 complaint . . . actually state a cause of action and that there is a substantive, sufficient basis in the

 pleadings for the particular relief sought.” Tyco Fire & Sec., LLC v. Alcocer, 218 F. App’x 860,

 863 (11th Cir. 2007).

     III.      DISCUSSION

            Upon a review of Plaintiff’s submissions, the Court finds a sufficient basis in the pleading

 to enter default judgment in Plaintiff’s favor. Because Defendants have not appeared, “all of the

 well-pled allegations in the Complaint are deemed admitted.” Ordonez v. Icon Sky Holdings LLC,

 No. 10-60156-CIV, 2011 WL 3843890, at *5 (S.D. Fla. Aug. 30, 2011) (citing Buchanan v.

 Bowman, 820 F.2d 359, 361 (11th Cir. 1987)). Having reviewed the Complaint, the Court finds

 Plaintiff’s allegations well-pled, and sufficient to establish Defendants’ liability.

            “[T]o succeed on a trademark infringement claim, a plaintiff must prove (1) that its valid

 mark was used in commerce by the defendant without consent, and (2) that the unauthorized use

 was likely to cause confusion, to cause mistake, or to deceive.” Gen. Motors Corp. v. Phat Cat

 Carts, Inc., 504 F. Supp. 2d 1278, 1283 (M.D. Fla. 2006); see Dieter v. B & H Indus. of Sw. Fla.,




                                                     3
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 4 of 9
                                                                Case No. 18-cv-61219-BLOOM/Valle


 Inc., 880 F.2d 322, 326 (11th Cir. 1989). “The plaintiff’s use of the mark must also predate the

 defendant’s potentially confusing mark.” Ordonez, 2011 WL 3843890, at *5 (citing Tally-Ho, Inc.

 v. Coast Cmty. College Dist., 889 F.2d 1018, 1023 (11th Cir. 1990)).                Importantly, “[t]he

 ‘likelihood of confusion test’ does not require that a plaintiff prove that consumers would likely

 confuse the alleged infringer’s product with the real product”; rather, “it is sufficient for a plaintiff

 to show that the unauthorized use of the trademark has the effect of misleading the public to believe

 that the user is sponsored or approved by the plaintiff.” Gen. Motors Corp., 504 F. Supp. 2d at

 1284 (internal quotations omitted). In addition, the test for liability for false designation of origin

 under 15 U.S.C. § 1125(a) is the same as for a trademark counterfeiting and infringement claim –

 i.e., whether the public is likely to be deceived or confused by the similarity of the marks at issue.

 See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 780 (1992).

         In the Complaint, Plaintiff alleges that it has been engaged in the business of sales and

 marketing of carpet and flooring, and carpet and flooring installation services throughout the

 United States, and has provided such services under the Empire name and various trademarks

 (“Empire Marks”). Compl., ECF No. [1] ¶¶ 10-11. Plaintiff further alleges that it possesses a

 number of trademark registrations, and that through its use, advertising and promotion of the

 Empire Marks, the Empire Marks have become famous and acquired strong secondary meaning

 identifying Plaintiff as the source of the services offered. Id. ¶¶ 15-16. Plaintiff asserts that

 Defendants began using, and continue to use, Plaintiff’s Empire Marks in connection with their

 own carpet and flooring business without Plaintiff’s authorization. Id. ¶¶ 19-20, 34-35. In

 addition, Defendants’ unauthorized use of the Empire Marks is likely to confuse, and has caused

 actual confusion among, consumers. Id. ¶¶ 36-37. By default, Defendants have admitted the truth




                                                    4
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 5 of 9
                                                               Case No. 18-cv-61219-BLOOM/Valle


 of these allegations, and accordingly, the Court finds that Plaintiff has established its claims against

 Defendants for trademark infringement and false designation of origin.

         “If the admitted facts in the Complaint establish liability, then the Court must determine

 appropriate damages.” Ordonez, 2011 WL 3843890, at *5. “Where all the essential evidence is

 on record, an evidentiary hearing on damages is not required.” Id. (citing SEC v. Smyth, 420 F.3d

 1225, 1232 n.13 (11th Cir. 2005) (“Rule 55(b)(2) speaks of evidentiary hearings in a permissive

 tone . . . . We have held that no such hearing is required where all essential evidence is already of

 record.” (citations omitted)); Petmed Express, Inc. v. Medpots.com, 336 F. Supp. 2d 1213, 1223

 (S.D. Fla. 2004) (entering default judgment, permanent injunction and statutory damages in a

 Lanham Act case without a hearing).

         In the instant case, Plaintiff seeks injunctive relief only. Pursuant to the Lanham Act, a

 district court is authorized to issue an injunction “according to the principles of equity and upon

 such terms as the court may deem reasonable,” to prevent violations of trademark law. See 15

 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the remedy of choice for trademark and unfair

 competition cases, since there is no adequate remedy at law for the injury caused by a defendant’s

 continuing infringement.” Burger King Corp. v. Agad, 911 F. Supp. 1499, 1509-10 (S.D. Fla.

 1995) (citing Century 21 Real Estate Corp. v. Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1988)).

 Moreover, even in a default judgment setting, injunctive relief is available. See e.g., PetMed

 Express, Inc., 336 F. Supp. 2d at 1222-23. Defendants’ failure to respond or otherwise appear in

 this case makes it difficult for Plaintiff to prevent further infringement absent an injunction. See

 Jackson v. Sturkie, 255 F. Supp. 2d. 1096, 1103 (N.D. Cal. 2003) (“[D]efendant’s lack of

 participation in this litigation has given the court no assurance that defendant’s infringing activity

 will cease. Therefore, plaintiff is entitled to permanent injunctive relief.”)




                                                    5
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 6 of 9
                                                               Case No. 18-cv-61219-BLOOM/Valle


        Permanent injunctive relief is appropriate where a plaintiff demonstrates that (1) it has

 suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardship

 favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay,

 Inc. v. MercExchange, LLC, 547 U.S. 388, 392-93 (2006). In the instant case, Plaintiff has carried

 its burden on each of the four factors. Accordingly, permanent injunctive relief is appropriate.

        Specifically, in trademark cases, “a sufficiently strong showing of likelihood of confusion

 . . . may by itself constitute a showing of a substantial threat of irreparable harm.” McDonald’s

 Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998); see also Levi Strauss & Co. v. Sunrise

 Int’l Trading Inc., 51 F.3d 982, 986 (11th Cir. 1995) (“There is no doubt that the continued sale of

 thousands of pairs of counterfeit jeans would damage LS & Co.’s business reputation and might

 decrease its legitimate sales.”). Plaintiff’s Complaint alleges that Defendants’ unlawful actions

 have caused Plaintiff irreparable injury and will continue to do so if Defendants are not

 permanently enjoined. See ECF No. [1]. Further, the Complaint alleges, and the submissions by

 Plaintiff show, that Defendants’ wrongful use of the Empire Marks has caused actual confusion to

 consumers. See id.

        Plaintiff has no adequate remedy at law so long as Defendants continue to use the Empire

 Marks because Plaintiff cannot control the quality of what appear to be its products and services

 in the marketplace. Plaintiff faces hardship from loss of sales and the inability to control reputation

 in the marketplace. By contrast, Defendants face no hardship if they are prohibited from the

 infringement of Plaintiffs’ trademarks, which is an illegal act. Therefore, an award of monetary

 damages would not cure the injury to Plaintiff’s reputation and goodwill that will result if

 Defendants’ infringing actions are allowed to continue.




                                                   6
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 7 of 9
                                                             Case No. 18-cv-61219-BLOOM/Valle


          Finally, the public interest supports the issuance of a permanent injunction against

 Defendants to prevent consumers from being misled by Defendants’ actions. See Nike, Inc. v.

 Leslie, No. 85-960 Civ-T-15, 1985 WL 5251, at *1 (M.D. Fla. June 24, 1985) (“[A]n injunction to

 enjoin infringing behavior serves the public interest in protecting consumers from such

 behavior.”). Defendants are profiting from their deliberate misappropriation of Plaintiff’s rights

 by using Plaintiff’s trademarks. Accordingly, permanent injunctive relief prohibiting Defendants

 from continuing their unlawful activity is appropriate to achieve this end.

          In addition, Plaintiff requests that the Court award attorneys’ fees and costs. The Lanham

 Act entitles a prevailing plaintiff to costs and gives the Court discretion to award reasonable

 attorneys’ fees in “exceptional cases.” 15 U.S.C. § 1117(a). “The Eleventh Circuit has defined an

 exceptional case as a case that can be characterized as malicious, fraudulent, deliberate, and

 willful.” Punch Clock, Inc. v. Smart Software Dev., 553 F. Supp. 2d 1353, 1359 (S.D. Fla. 2008)

 (citing Burger King Corp. v. Pilgrim’s Pride Corp., 15 F.3d 166, 168 (11th Cir. 1994)). In

 addition, a case may be deemed “exceptional” and merit an award of attorneys’ fees under the

 Lanham Act when the defendant disregards legal proceedings and does not appear. See PetMed

 Express, Inc., 336 F. Supp. 2d at 1222 (citing Arista Records, Inc. v. Beker Enters., 298 F. Supp.

 2d 1310, 1316 (S.D. Fla. 2003) ); see also Rib City Grp., Inc. v. RCC Rest. Corp., 2010 WL

 4739493, at *2-3 (M.D. Fla. Nov. 16, 2010) (finding an exceptional case based in part on

 defendants’ failure to appear and answer the allegations and awarding $23,400.00 in attorneys’

 fees).

          Here, Defendants have admitted in default that their unauthorized use of the Empire Marks

 is “willful, deliberate, and done with an intent to trade upon the fame and goodwill represented by

 the EMPIRE Marks . . . .” Compl., ECF No. [1] ¶ 38. Based on this admission, combined with




                                                  7
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 8 of 9
                                                             Case No. 18-cv-61219-BLOOM/Valle


 Defendants’ lack of appearance, the Court finds that the instant case constitutes an “exceptional

 case” entitling Plaintiff to an award of reasonable attorneys’ fees. See Ordonez, 2011 WL

 3843890, at *5 (S.D. Fla. Aug. 30, 2011) (“Willful infringement may be inferred from a

 defendant’s willingness to accept a default judgment.” (citing Arista Records, Inc., 298 F. Supp.

 2d at 1313)). Plaintiff’s attorney has stated in a sworn declaration that his law firm spent 30.25

 hours on this case, totaling $11,370.95 in attorneys’ fees, and $530.00 in costs, constituting the

 filing fee and process server fee. See ECF No. [40-1] ¶¶ 4-5. However, Plaintiff provides no

 further information regarding what portion of the time spent and costs accrued may be attributable

 to pursuing this case against Defendants, as opposed to Defendant Pellar, who did not default. As

 such, the Court cannot determine whether the fees and costs sought are reasonable, and Plaintiff’s

 request for attorneys’ fees and costs will be denied without prejudice.

    IV.      CONCLUSION

          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

             1.     The Motion, ECF No. [40], is GRANTED IN PART;

             2.     Pursuant to Rule 58(a), Fed. R. Civ. P., a Final Default Judgment in favor of

                    Plaintiff and against Defendants Harold Monblatt and U.R. Floored Today

                    awarding injunctive relief shall follow in a separate order;

             3.     Plaintiff’s request for attorneys’ fees and costs is DENIED WITHOUT

                    PREJUDICE.

          DONE AND ORDERED in Chambers at Miami, Florida, on April 4, 2019.



                                                      ____________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE




                                                  8
Case 0:18-cv-61219-BB Document 41 Entered on FLSD Docket 04/04/2019 Page 9 of 9
                                               Case No. 18-cv-61219-BLOOM/Valle


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 Counsel of Record




                                       9
